     Case 2:07-cr-00081-SAB    ECF No. 452   filed 04/25/08   PageID.1076 Page 1 of 1




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5
                               UNITED STATES DISTRICT COURT
6                             EASTERN DISTRICT OF WASHINGTON
7
       UNITED STATES OF AMERICA,                )
8                                               )     No. CR-07-081-FVS-6
                         Plaintiff,             )
9                                               )     ORDER STRIKING MOTION AS
       v.                                       )     MOOT
10                                              )
       RICHARD J. OLSON,                        )
11                                              )
                         Defendant.             )
12                                              )

13          BEFORE THE COURT on referral from the Honorable Fred Van

14    Sickle, is Defendant’s “Transcript Redaction Request,” which was

15    filed using the incorrect motion event, thereby putting the request

16    on a pending motion list.        The “Motion to Redact Transcript” event

17    is only to be used when requesting transcript redaction that falls

18    outside the Judicial Conference Policy Identifiers.

19          For that reason, the motion (Ct. Rec. 450) is STRICKEN as moot.

20          IT IS SO ORDERED.
            DATED April 25, 2008.
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22
                                   s/ CYNTHIA IMBROGNO
23                            UNITED STATES MAGISTRATE JUDGE

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      ORDER STRIKING MOTION AS MOOT - 1
